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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

JOHN HENRICKS,                                      :
                                                    :          Case No. 2:08-CV-580
                 Plaintiff,                         :
                                                    :          JUDGE ALGENON L. MARBLEY
          v.                                        :
                                                    :          Magistrate Judge Jolson
PICKAWAY CORRECTIONAL                               :
INSTITUTION, et al.,                                :
                                                    :
                 Defendants.                        :

                                        OPINION & ORDER

          This matter is before the Court on two motions pertaining to Defendants’ failure to file an

answer to Plaintiff’s complaint earlier in this litigation: Plaintiff John Henricks’ Motion in

Limine to Preclude Defendants from Offering Evidence or Argument Denying Facts that Have

Been Legally Admitted Pursuant to Federal Rule of Civil Procedure 8(b)(6) (Doc. 270); and

Defendants Officer Maynard and Doctor Gonzales’ Motion in Limine to Prohibit the Plaintiff

from Refusing to Adhere to 42 U.S.C. § 1997e(g). (Doc. 276-1.) For the reasons that follow, the

Court GRANTS Plaintiff’s Motion in Limine and DENIES Defendants’ Motion in Limine.1

                                         I.     BACKGROUND

          After Plaintiff filed a pro se complaint against Defendants on June 18, 2008, and a

subsequent amended complaint on August 15, 2008, Defendants Maynard and Gonzales, along

with other Defendants who have since been dismissed from the case, filed a motion to dismiss

the complaint on September 26, 2008. On May 11, 2009, the Court denied the motion to dismiss

as to Maynard and Gonzales. (Doc. 74.) After their motion to dismiss was denied, Defendants

failed to file an answer. Four years later, they filed a motion for leave to file an answer instanter,

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    The Court will rule on the parties’ remaining motions in limine at the final pretrial conference.
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and defense counsel, who had replaced previous counsel for the Attorney General’s office in

2011, stated that she personally had not known that an answer had not been filed until Plaintiff,

now represented by counsel, filed a motion to strike the affirmative defenses raised in

Defendants’ motion for summary judgment on the ground that Defendants had never filed an

answer. (Doc. 215 at 2-3.) Arguing that the failure to file an answer was excusable neglect,

Defendants’s counsel took “full responsibility” for the failure and asked for leave to file the

answer instanter. (Id. at 9-10.) Magistrate Judge Abel denied the motion, finding that “the

failure to file an answer over a period of more than five years after the original complaint was

filed—without any explanation of why no answer was filed—is not excusable neglect.” (Doc.

226 at 4.) Defendants objected to the Magistrate Judge’s order, and the District Judge (the Hon.

George C. Smith) affirmed the order. (Doc. 229 at 2.)

       The Court also denied Defendants’ motion for summary judgment, holding that

Defendants had waived their exhaustion and qualified-immunity defenses. (Doc. 229.)

Although Defendants appealed the denial of their motion for summary judgment to the Sixth

Circuit, they did not appeal the Magistrate Judge’s order denying their motion to file an answer

instanter. (See Doc. 233 at 5 n.1.) The Sixth Circuit held that it lacked jurisdiction to evaluate

the district court’s ruling on exhaustion requirement and that the district court did not abuse its

discretion in holding that Defendants waived their qualified-immunity defense. (Id. at 3.)

       Plaintiff now asks the Court to deem admitted all factual allegations in Plaintiff’s

complaint under Rule 8(b)(6) because Defendants never filed an answer. Defendants, in turn,

have filed their own motion in limine “to prohibit the plaintiff from refusing to adhere to 42

U.S.C. § 1997e(g).” (Doc. 276-1.) Because Defendants’ motion in limine essentially asks the




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Court to deny Plaintiff’s motion in limine, the Court will consider the two motions in

conjunction.

                                 II.     STANDARD OF REVIEW

       Motions in limine allow the Court to rule on the admissibility of evidence in advance of

trial to expedite proceedings and give the parties advance notice of the evidence they may not

rely upon at trial. Bennett v. Bd. of Educ. of Washington Cnty. Joint Vocational Sch. Dist., C2-

08-CV-0663, 2011 WL 4753414, at * 1 (S.D. Ohio Oct. 7, 2011) (citing Jonasson v. Lutheran

Child & Family Servs., 115 F.3d 436, 440 (7th Cir. 1997)). To prevail on a motion in limine, the

movant must show that the evidence is clearly inadmissible. Id. If the movant fails to meet this

high standard, a Court should defer evidentiary rulings so that questions of foundation,

relevancy, and potential prejudice may be resolved in the context of trial. See Ind. Ins. Co. v.

Gen. Elec. Co., 326 F. Supp. 2d 844, 846 (N.D. Ohio 2004). Whether to grant a motion in limine

is within the discretion of the trial court. Branham v. Thomas M. Cooley Law Sch., 689 F.3d

558, 562 (6th Cir. 2012). The Court may reconsider the admissibility of the evidence, however,

and even change its ruling on a motion in limine, “as the proceedings give context to the pretrial

objections.” Bennett, 2011 WL 4753414, at * 1 (citing Black v. Columbus Pub. Sch., No. 2:96-

CV-326, 2007 WL 2713873, at *2 (S.D. Ohio Sept. 17, 2007)).

                                         III.    ANALYSIS

       Federal Rule of Civil Procedure 8(b)(6) provides, in relevant part, that “[a]n allegation—

other than one relating to the amount of damages—is admitted if a responsive pleading is

required and the allegation is not denied.” Countless courts have held that the failure to submit

an answer denying a complaint’s factual allegations constitutes an admission of those

allegations. See, e.g., Burlington N. R.R. Co. v. Huddleston, 94 F.3d 1413, 1415 (10th Cir. 1996)



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(“By failing to submit an answer or other pleading denying the factual allegations of Plaintiff's

complaint, Defendant admitted those allegations, thus placing no further burden upon Plaintiff to

prove its case factually.”); Lockwood v. Wolf Corp., 629 F.2d 603, 611 (9th Cir. 1980); Arnold v.

Afflerbach, No. 10-cv-5742, 2012 WL 993706, at *1 (E.D. Pa. Mar. 26, 2012); Jones v. Lopez,

262 F. Supp. 2d 701, 709 n.2 (W.D. Tex. 2001) (“[T]he failure to deny plaintiff's averments

operates as an admission pursuant to Fed. R. Civ. P. 8(d). Because the factual averments were

not denied, defendants have admitted plaintiff was unlawfully detained some 253 days beyond

the mandatory release date in the order by which he was originally confined.”); Mapco, Inc. v.

Grunder, 470 F. Supp. 401, 406 (N.D. Ohio 1979).

       Defendants contend, however, that a responsive pleading is not required under the Prison

Litigation Reform Act (“PRLA”), 42 U.S.C. § 1997e(g) and, therefore, their failure to file an

answer does not constitute an admission of the factual allegations in Plaintiff’s complaint. Under

the PLRA, in a departure from normal pleading rules, federal courts must review a prisoner

complaint sua sponte to determine whether such a complaint is frivolous, malicious, fails to state

a claim upon which relief may be granted, or seeks monetary relief against a defendant who is

immune from such relief. 28 U.S.C. § 1915A(a)-(b). Section 1997e(g), in turn, provides as

follows:

       (g) Waiver of reply

               (1) Any defendant may waive the right to reply to any action brought by a
               prisoner confined in any jail, prison, or other correctional facility under section
               1983 of this title or any other Federal law. Notwithstanding any other law or rule
               of procedure, such waiver shall not constitute an admission of the allegations
               contained in the complaint. No relief shall be granted to the plaintiff unless a
               reply has been filed.

               (2) The court may require any defendant to reply to a complaint brought under
               this section if it finds that the plaintiff has a reasonable opportunity to prevail on
               the merits.

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Here, Defendants chose not to waive the right to reply and filed a motion to dismiss. (Doc. 17.)

Therefore, section 1997e(g) is inapplicable to this suit. Instead, Defendants were bound to

follow the Federal Rules of Civil Procedure, which require an answer to be filed within 14 days

of the denial of a motion to dismiss, or May 25, 2009. Fed. R. Civ. P. 12(a)(4)(A).

       Maynard and Gonzales argue that section 1997e(g) contemplates that even if a defendant

declines to waive the right to reply by filing a motion to dismiss, as happened here, the defendant

is never obligated to file an answer, even if the court denies the motion to dismiss. That

interpretation is contrary to the plain text of the statute and Defendants point to no court that has

held otherwise. A reply under section 1997e(g) constitutes an answer, a motion to dismiss, or a

motion for summary judgment. See Lafountain v. Martin, No. 1:07-cv-76, 2009 WL 4729933, at

*3 (W.D. Mich. Dec. 3, 2009). The statute clearly contemplates that the waiver of the right to

reply is optional and contains no indication that if a defendant does choose to reply by motion, he

is then no longer obligated ever to file an answer if his motion is denied.

       Defendants purport to rely on Jones v. Bock, 549 U.S. 199 (2007), but that case does not

support their position. In Jones, the Supreme Court rejected the lower court’s interpretation of

the PLRA requiring an inmate to plead specially or demonstrate exhaustion in a complaint,

finding that the adoption of “different and more onerous pleading rules to deal with particular

categories of cases” should not be done “on a case-by-case basis by the courts.” Id. at 224. The

Court cited section 1997e(g) for the principle that “when Congress meant to depart from the

usual procedural requirements,” that is, the waiver of reply without the usual consequences of

being deemed to have admitted the allegations in the complaint, “it did so expressly.” Id. at 216.

If Congress had intended to allow defendants in prisoner civil-rights cases not to file an answer

after a motion to dismiss was denied—which would have operated as a waiver of the

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requirements of Federal Rule of Civil Procedure 12(a)(4)(A) in PLRA cases—it would have

expressly done so. See Fed. R. Civ. P. 12(a)(4)(A) (“[I]f the court denies the [Rule 12] motion

. . ., the responsive pleading must be served within 14 days after notice of the court’s action.”).2

        Plaintiff points out an additional flaw in Defendants’ interpretation of the statute. Taken

to its logical conclusion, because the statute provides that “[n]o relief shall be granted to the

plaintiff unless a reply has been filed,” 42 U.S.C. § 1997e(g)(1), a defendant could always avoid

liability, even after a jury verdict against it, if it never filed an answer after a motion to dismiss

was denied. That would be an absurd result. Instead, section 1997e(g) clearly applies to cases

where the defendant has waived the right to reply.

        In response to Defendants’ argument that section 1997e(g) preserves their right to

challenge Plaintiff’s factual allegations notwithstanding their failure to file a timely answer,

Defendants also mischaracterize this Court’s earlier orders to suggest that the Rule 8 issue has

already been decided in their favor. In a December 21, 2015 order denying Plaintiff’s motion for

sanctions, Magistrate Judge King noted: “Defendants’ argument in this regard has not been

addressed by this Court and plaintiff has not moved for default judgment because of defendant’s

failure to file a timely answer.” (Doc. 251 at 10.) This constitutes an acknowledgment that this

issue has not been decided, not a decision in Defendants’ favor. Plaintiff contends, and the Court

agrees, that a motion for default judgment was not available as an option to him because such a


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  Defendants also assert that Plaintiff has earlier conceded that its interpretation of section
1997e(g) is correct. This is a blatant mischaracterization of the record. Defendants selectively
quoted from an earlier memorandum in opposition to Defendants’ motion to strike Plaintiff’s
motion for sanctions, in which Plaintiff noted that defendants in PLRA cases have the option to
“reply to the Plaintiff’s complaint as any normal litigant would – generally by filing a motion to
dismiss or an answer – and the litigation proceeds in the normal course.” (Doc. 244 at 11-12.)
Plaintiff does not state, nor has he so stated at any point in this litigation and has in fact argued
the opposite on several occasions, that it is his position that the “the normal course” of litigation
contemplates not filing an answer after the denial of a motion to dismiss.

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motion is not proper when a defendant has filed a motion to dismiss. Federal Rule of Civil

Procedure 55 provides for an entry of default, which may be followed by a default judgment,

“[w]hen a party against whom a judgment for affirmative relief is sought has failed to plead or

otherwise defend.” Fed. R. Civ. P. 55(a) (emphasis added). See also Nwabue v. Wayne State

Univ. Sch. of Med., 513 F. App’x 551, 552 (6th Cir. 2013) (per curiam) (“[B]ecause the

defendants already had ‘plead[ed] or otherwise defend[ed]’ by filing their motion to dismiss

before [plaintiff] filed his default motion, the district court clerk properly denied [plaintiff’s]

motion.”); Sandoval v. Bluegrass Reg’l Mental Health-Mental Retardation Bd., 229 F.3d 1153

(Table), 2000 WL 1257040, at *5 (6th Cir. July 11, 2000) (“[A]lthough [Defendant] did not file

an answer to [Plaintiff’s] complaint, she did ‘otherwise defend’ herself with a motion to dismiss

for failure to effect service.”); Garcia v. Renaissance Global Logistics, LLC, No. 10-13122, 2011

WL 3714635, at *1 (E.D. Mich. Aug. 23, 2011). Because here Defendants did “otherwise

defend” the suit despite not filing an answer, a default judgment is unavailable to Plaintiff.

        The Court is sympathetic to Defendants’ position and certainly understands that federal

courts generally favor “resolving cases on the merits instead of on the basis of procedural

missteps.” United States v. $22,050.00 U.S. Currency, 595 F.3d 318, 322 (6th Cir. 2010). But

given that the Court found no excusable neglect in Defendants’ failure to file an answer more

than four years after it was due—a decision that Defendants did not appeal and do not now ask

the Court to reconsider—there is no other basis for excusing their failure. And Rules 8(b)(6) and

12(a)(4)(A) admit of no discretion. Therefore, Plaintiff’s Motion in Limine is GRANTED and

Defendants’ Motion in Limine is DENIED. Defendants will be precluded at trial from offering

evidence denying the facts that have been deemed admitted in Plaintiff’s complaint under Rule

8(b)(6).



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                                       IV.     CONCLUSION

       For the reasons stated above, Plaintiff’s Motion in Limine is GRANTED. (Doc. 270.)

Defendants’ Motion in Limine is DENIED. (Doc. 276-1.) Defendants are precluded from

offering evidence or argument at trial denying facts that have been legally admitted in Plaintiff’s

complaint under Rule 8(b)(6). The trial will be limited to the amount of damages Defendants

owe to Plaintiff.

       IT IS SO ORDERED.

                                                       s/ Algenon L. Marbley
                                                     ALGENON L. MARBLEY
                                                     UNITED STATES DISTRICT JUDGE
DATED: August 24, 2016




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